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FILED ev ___BQ»{§.G.

IN THE UNITED STATES DISTRICT COURT 05 AUG 30 m m, 145
FOR THE WESTERN DISTRICT OF TENNESSEE

WESTERN DIvISIoN '

 

UNITED STATES OF AMERICA,

Plaintiff,

Case No.: 02-20165 D
v.

ROBERT MURRAY BOHN,

Defendant.

ORDER DENYING MOTION TO WAIVE IURY TRIAL

Before the court is Defendant’s motion to Waive jury pursuant to Fed.R.Crim.P. 23. The

United States has filed a response in opposition to the motion. Because the Governrnent does not

consent to the Waiver, Defendant’s motion is DENIED.

IT Is so 0RDERE1) this g j day TW, 2005.

 
  
    

DONALD
TED STATES DISTRICT JUDGE

This document entered on the docket sheet In p a b
with Ru¢e 55 and/or 32(b) FRCrP on

 

UNITED STATES DISTRIC= COURT- l WESTERN DISTRICT OF TENNESSEE

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Case 2:02-cr-20165-BBD-tmp Document 616 Filed 08/30/05 Page 3 of 3 Page|D 863

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Honorable Bernice Donald
US DISTRICT COURT

